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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 THE STATE OF TEXAS,

                Plaintiff,

        v.                                                 No. 4:23-cv-604-O

MIGUEL CARDONA, in his official capacity
as Secretary of Education, et al.,

                Defendants.


                                    NOTICE OF APPEAL

       NOTICE is hereby given that Defendants Miguel Cardona, in his official capacity as

Secretary of Education; the United States Department of Education; Merrick B. Garland, in his

official capacity as Attorney General of the United States; and the United States Department of

Justice appeal to the United States Court of Appeals for the Fifth Circuit from the following

opinions and orders:

       •       The Court’s August 5, 2024 Order, ECF No. 44, amending its June 11, 2024

               Memorandum Opinion and Order, ECF No. 37, and Final Judgment, ECF No. 38,

               which granted Plaintiff’s Motion for Summary Judgment, ECF No. 23, and denied

               Defendants’ Cross-Motion to Dismiss or, in the Alternative, for Summary

               Judgment, ECF No. 27.

       •       The Court’s August 5, 2024, amended Memorandum Opinion and Order, ECF

               No. 45, granting Plaintiff’s Motion for Summary Judgment, ECF No. 23, and

               denying Defendants’ Cross-Motion to Dismiss or, in the Alternative, for

               Summary Judgment, ECF No. 27.
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     •       The Court’s August 5, 2024, amended Final Judgment, ECF No. 46.

Dated: October 3, 2024                       Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             EMILY B. NESTLER
                                             Assistant Branch Director

                                             /s/ John T. Lewis
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2024, a copy of the foregoing was filed electronically

via the Court’s ECF system, which effects service upon counsel of record.

                                                  /s/ John T. Lewis
                                                  John T. Lewis
